Case 2:06-cv-05474-RRM-ARL Document 73 Filed 11/03/10 Page 1 of 9 PageID #: 1215




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------)(
JOHN CLOUGHER, individually and
on behalf of all persons similarly situated,
                                                                 MEMORANDUM & ORDER
                                     Plaintiff,                   06-cv-05474(RRM)(ARL)

          - against -                                                          FILED
                                                                            IN CLERK'S OFFICE
                                                                        US DISTRICT COURT E.D.N.Y.
HOME DEPOT U.S.A., INC.,

                                     Defendant.
                                                                        *    NOV03201O         *
-----------------------------------------------------------)(
MAUSKOPF, United States District Judge.                                 BROOKLYN OFFICE


        In connection with this overtime wage dispute, Defendant Home Depot moves for

reconsideration of this Court's March 2010 Order denying summary judgment on certain of

Home Depot's Affirmative Defenses. (Dkt. No. 66.) For the reasons below, Home Depot's

motion is DENIED.


                           FACTUAL & PROCEDUARL BACKGROUND

        Plaintiff John Clougher commenced this New York Labor Law action seeking overtime

wages allegedly denied him by his employer, Home Depot. On January 7, 2009, Home Depot

moved for summary judgment, alleging that Clougher's employment duties as a Merchandising

Assistant Store Manager ("MASM") were statutorily exempted from overtime wage

requirements by New York's "executive exemption." (Dkt. No. 53.) By Order dated March II,

2010, this Court disagreed, finding that material fact disputes between the parties were sufficient

to preclude summary judgment on the matter. (Dkt. No. 65.)

        In denying summary judgment, this Court determined that Home Depot failed to

demonstrate conclusively that management was Cougher's "primary duty" - a showing

necessary for application of the exemption. Specifically, this Court found material factual
Case 2:06-cv-05474-RRM-ARL Document 73 Filed 11/03/10 Page 2 of 9 PageID #: 1216




 disputes concerning each of the four factors ofthe "primary duty test" set forth under applicable

 wage law: (I) the relative importance ofClougher's managerial duties, (2) the amount of time

 spent performing managerial work, (3) his relative freedom from direct supervision, and (4) the

 relationship between his wages and those of other, non-exempt Home Depot employees. Home

 Depot now moves for reconsideration ofthat decision on the grounds that this Court overlooked

 persuasive legal authority or misapplied controlling precedent in its consideration ofthe above

 factors.


                                        RECONSIDERATION

            Reconsideration or reargument is merited if the party can "demonstrate that the Court

 overlooked contro lIing decisions or factual matters that were put before it on the underlying

 motion." Shamis v. Ambassador Factors Corp., 187 F.R.D. 148, 151 (S.D.N.Y. 1999). The

 matters must "reasonably be expected to alter the conclusion reached by the court." Davidson v.

 Scully, 172 F. Supp. 2d 458,461 (S.D.N.Y. 2001). Relevant case law further provides that Local

Rule 6.3 should be "narrowly construed and strictly applied so as to avoid repetitive arguments

on issues that have been considered fully by the court" and may not be used to advance new

 facts, issues or arguments not previously presented to the Court. Id at 461-62 (citations and

 quotation marks omitted).

            For the reasons below, Home Depot has failed to advance any new controlling decision

 or factual matter sufficient to alter this Court's prior determination. Home Depot's motion for

 reconsideration is therefore denied.




                                                    2
Case 2:06-cv-05474-RRM-ARL Document 73 Filed 11/03/10 Page 3 of 9 PageID #: 1217




                                                  DISCUSSION

     A. This Court Properly Considered Relevant Case Law Regarding the Percentage of
        Time Spent Performing Managerial Tasks

          Home Depot's first argument on reconsideration centers upon the percentage oftime

 Clougher spent performing managerial tasks. Here, Home Depot takes exception to this Court's

 reliance on Johnson v. Big Lots Stores, Inc., 604 F. Supp. 2d 903,912-13 (E.D. La. 2009)

 (finding that "[n]o circuit courts have found management was a primary duty when the employee

 spent 80 to 90% of his time performing nonexempt tasks. "). I

          It is undisputed that the percentage oftime spent performing managerial duties is but one

 factor that Courts may consider in addressing the facts of any particular case. See 29 C.F.R. §

 541.103; 29 C.F .R. § 700(a), (b). Certainly, this Court has no quarrel with the unremarkable

 proposition that time alone is not dispositive. See Morgan v. Family Dollar Stores, Inc., 551

 FJd 1233, 1267-68 (11th Cir. 2008). Thus, that Home Depot is able to cull together a

 scattershot of decisions involving the grant or affirmance of sununary judgment in cases where

 the employee's management responsibilities are presumably constrained to a marginal sliver of

 the workday is neither surprising nor particularly significant. See Jones v. Virginia Oil Co., Inc.,

 69 F. App'x 633 (4th Cir. 2003); Baldwin v. Trailer Inns, Inc., 266 F.3d 1104 (9th Cir. 2001);


            Although this issue is immaterial, this Court does not agree that Judge Vance's observation was in error.
 While this Court need not defend Big Lots's non-dispositive note that "no circuit court has found management was a
 primary duty when the employee spent 80 to 90% of his time performing nonexempt tasks," this Court reads that
 statement to mean merely that where time is relevant - as it undoubtedly is in circumstances where, as here, the
 other primary duty factors are less than compelling - no court has found management to be a primary duty where, at
 trial, it was established that management tasks occupied no more than twenty percent of an employee's time. See
 Morgan, 551 F.3d at 1269 ("The overwhelming evidence at trial showed Plaiotiff store managers spend 80 to 90%
 of their time performing nonexempt [work]."); cf Big Lots, 604 F. Supp. 2d at 912-15. From that perspective, the
 statement is accurate. Moreover, the Eleventh Circuit in Morgan noted that decisions by other federal courts of
 appeal that involved a high percentage of non-exempt work did not require a close factual examination of the
 plaiotiff's time estimates because of the strength of other factors. On this basis, the Morgan court distioguished
 those other circuit court decisions as markedly different from the circumstances presented io Morgan, which, like
 Big Lots, involved an underlying factual finding at trial that time spent performing managerial tasks was no more
 than marginal. See Morgan, 551 F.3d at 1272 (distinguishing circuit cases, including Baldwin, 266 F.3d at 1108-09,
 114, and statiog "Family Dollar's cases are also distioguishable in that they give less weight to the plaintiff's
 estimates of time spent performing nonexempt work ...")).

                                                          3
Case 2:06-cv-05474-RRM-ARL Document 73 Filed 11/03/10 Page 4 of 9 PageID #: 1218




 Auer v. Robbins, 65 F.3d 702 (8th Cir. 1995); Moore v. Tractor Supply Co., 352 F. Supp. 2d

 1268 (S.D. Fla. 2004).

        Moreover, the cases cited by Home Depot are each expressly premised on the overall

 strength of the remaining "primary duty" test factors, a circumstance altogether lacking here.

 Accordingly, the respective affirmances of summary judgment did not require the reviewing

 courts to discount or disbelieve plaintiffs contentions as to the percentage of time spent

 performing managerial tasks. Indeed, the precise percentage of time - which went largely

 unexamined in the cases Home Depot cites - was immaterial in light of the totality of the

 circumstances. That was not the case in Big Lots or in Morgan. Nor is it the case here.

        This Court agrees that even where managerial work is limited to ten or twenty percent of

 the time, summary judgment for the employer is not necessarily precluded. See Big Lots, 604 F.

 Supp. 2d at 913 (recognizing that "time alone ... is not the sole test, and in situations where the

 employee does not spend over 50 percent of his time in managerial duties, he might nevertheless

 have management as his primary duty if the other pertinent factors support such a conclusion.")

 (quoting Murray v. Stuckey's, Inc., 939 F.2d 614, 618 (8th Cir.1991)) (emphasis added).

 However, this Court soundly rejects Home Depot's apparent implication that such facts alone

 entitle employers to judgment as a matter of law. The Court finds that the marginal percentage

 of time spent performing managerial work is highly relevant, and raises factual questions in light

 of the overall weakness of Home Depot's factual showing on summary judgment.


    B. Issues Concerning Clougher's Exercise of Discretion Were Correctly Considered


        Home Depot argues that an incorrect legal standard was applied in connection with this

 Court's discussion of discretionary authority. On this point, Home Depot suggests that the

 definition of discretionary authority cited by this Court and set forth in Cooke v. Gen. Dynamics

                                                  4
Case 2:06-cv-05474-RRM-ARL Document 73 Filed 11/03/10 Page 5 of 9 PageID #: 1219




 Corp., 993 F. Supp. 56, 65 (D. Conn. 1997) is inapplicable because (a) the Cooke court was

 concerned principally with the Administrative Exemption to the FLSA, rather than the Executive

 Exemption, and (b) the Cooke definition is somehow contrary to the Second Circuit's discussion

 in Donovan v. Burger King Corp., 675 F.2d 516, 521 (2d Cir. 1982) ("Burger King"), aff'g

 Marshall v. Burger King Corp., 504 F. Supp. 404 (E.D.N.Y. 1980). Neither objection has merit.

        First, it is proper for this Court to look to the Administrative Exemption for clarification

 and guidance concerning the discretion inquiry required under New York Labor Law. As

 explained in this Court's March II, 2010 Order at note 8, application of the Executive

 Exemption under New York Labor Law differs slightly from the FLSA's formulation. Unlike

 current FLSA Regulations, New York Labor Law continues to require some consideration as to

 an employee's ability to exercise discretionary authority. See 12 N.Y. Compo Codes R. & Regs.

 Tit. 12, § 142-2.14(c)(4)(i)(d). Given the fact that New York Labor Law does not define the

 activities that evidence the sufficient exercise of such discretion, and because current FLSA

 Regulations are likewise silent on the issue, this Court may properly look for guidance within the

 Secretary of Labor's discussion of discretionary authority, as set forth in the provisions

 concerning the analogous "Administrative Exemption." See 29 C.F.R. 541.200; cf Brennan v.

 Carl Roessler, Inc., 361 F. Supp. 229, 232 (D. Conn. 1973) (applying definition of "discretion"

 to Executive Exemption). For example, in Brennan, an Executive Exemption action brought by

 the Secretary of Labor, the court stated:

                [T]he court finds that the evidence does not support the contention that
                this position entailed the customary and regular exercise of discretionary
                powers. As stated in 29 C.F .R. § 541.207, "the exercise of discretion and
                independent judgment involves the comparison and evaluation of possible
                courses of conduct and acting or making a decision after the various
                possibilities have been considered." Moreover, "the term ... implies that
                the person has the authority or power to make an independent choice, free
                from immediate direction or supervision and with respect to matters of

                                                  5
Case 2:06-cv-05474-RRM-ARL Document 73 Filed 11/03/10 Page 6 of 9 PageID #: 1220




                significance." Although this regulation deals particularly with the
                 administrative exemption, there is no reason to think that this requirement,
                which is necessary for both exemptions, should be interpreted differently
                for the executive exemption than for the administrative.

 Id. (emphasis added); see also Breckenridge v. Bristol-Myers Co., No. EV 83-34-C, 1987 WL

 15468, at *5 (S.D. Ind. Feb. 16, 1987) (finding discretionary powers factor under the old

 Executive Exemption provisions to be unhelpful: "the fuller explanation provided in Section

 541.207 relating to administrative employees [provides guidance, and] should be applied to

 evaluate whether the plaintiff in this case customarily and regularly exercised discretionary

 powers, within the meaning ofthe executive exemption").

        Second, the Administrative Exemption's discussion of discretionary authority is not

 contrary to controlling Second Circuit law. As to this element of the primary duty test, Home

 Depot cites no controlling legal standard in any circuit. Title 29, section 541.207, of the Code of

 Federal Regulations sets forth the Secretary of Labor's discussion and non-exhaustive listing of

 the actions sufficient to demonstrate the exercise of discretion, and are merely non-dispositive

 guidelines. See Ahern v. State ofN. Y., 807 F. Supp. 919 (N.D.N. Y. 1992». As such, they are

 useful to courts in assessing a primary duty consideration upon which no controlling law exists.

 See, e.g., Breckenridge, 1987 WL 15468, at *5; Brennan, 361 F. Supp. at 232. Thus, Home

 Depot's assertion that the Administrative Exemption guidelines discussed in Cooke are contrary

 to some controlling Second Circuit formulation is wholly unsupported.

        Moreover, Burger King, which Home Depot erroneously cites as the controlling Second

 Circuit standard, simply identifies those duties performed by Burger King's assistant managers

 sufficient to demonstrate the exercise of discretionary authority. Burger King, 521 F .2d at 518.

 Even assuming, however, that the synthesis of those fact-specific tasks established, by

 implication, a controlling legal standard, the result would harmonize fully with the Secretary of


                                                  6
Case 2:06-cv-05474-RRM-ARL Document 73 Filed 11/03/10 Page 7 of 9 PageID #: 1221




 Labor's view that discretionary tasks should relate to "matters of significance." Accordingly, the

 Court sees not tension, but accord between the "exercise of discretion" analysis in Burger King

 and 29 C.F.R. § 541.207.


     C. Issues Concerning Clougher's Compensation Were Correctly Considered

        Home Depot's objection to this Court's "salary relationship" analysis is also unavailing.

 Home Depot's charge that the Court improperly "examined both the salary difference between

 exempt and nonexempt employees and the similarity of the work performed by nonexempt

 employees ... " (Def.'s Mot. at 9) misconstrues the Court's analysis.

        The Court compared Clougher's overall compensation, including salary, bonuses and

 stock options, with the hourly compensation earned by non-exempt, hourly employees. In light

 of the totality of the facts and circumstances, this Court concluded that the compensation

 differential alone was not sufficient to find as a matter of law that Plaintiff is a managerial

 employee. See Big Lots, 604 F. Supp. 2d at 904; see also McKinney v. United Star-All Ctrs.

 LLC, 656 F. Supp. 2d 114, 125-26 (D.D.C. 2009) (denying summary judgment despite

 compensation differential, stating that "given the inconclusiveness of the other three factors, as

 well as the fact that the FLSA exemptions are to be construed narrowly and applied only to those

 unmistakably within their parameters, the court determines that the salary disparity alone would

 not preclude a reasonable jury from concluding that [plaintiffs] primary duty was not directly

 related to the management of the employer's business.") There is no reasonable suggestion that

 the Court's determination in this regard misapplies or is otherwise violative of controlling law.

 Instead, Home Depot quarrels with a supplemental consideration as to the allegedly overlapping

 duties between managerial and non-managerial employees. While this consideration was not

dispositive in analyzing Clougher's compensation, or with respect to any other elements of the


                                                   7
Case 2:06-cv-05474-RRM-ARL Document 73 Filed 11/03/10 Page 8 of 9 PageID #: 1222




 primary duty test, this Court amply discussed the various ways in which that fact, if proven,

 would tend to weaken Defendant's position in nearly all respects, further militating against a

 grant of summary judgment.

    D. Home Depot's Remaining Arguments for Reconsideration Are Unavailing

        Finally, the Court has considered Home Depot's remaining arguments for reconsideration

 and finds them to be without merit. This determination includes, but is not limited to, Home

 Depot's objection to this Court's review and consideration of Clougher's opposition papers,

 including his sworn affidavit.

        As more fully described in this Court's March 11, 2010 Order, Home Depot's argument

 for summary judgment relies exclusively upon their singular interpretation and synthesis of

 Clougher's deposition testimony. Home Depot submitted no other evidence from any other

 witness in support of its motion, including those further up the Home Depot management chain,

 such as Clougher's superior store manager or regional manager. Home Depot did not submit any

 evidence from Clougher's co-MASMs, assistant managers in other departments, or subordinates

 at the relevant store locations. Indeed, other than to impugn Clougher's testimony and to suggest

 that his affidavit in opposition is a sham instrument unworthy of consideration, Home Depot-

 who is in a "superior position to know and produce the most probative facts concerning the

 nature and amount of work performed" - has made little effort to support its position with

 objective evidence as to how Clougher actually spent his day. See Morgan, 551 F.3d at 1269-70

 (quoting Allen v. Bd. of Pub. Educ. for Bibb Cnty, 495 F.3d 1306, 1315 (lIth Cir. 2007)). In the

 absence of such evidence, this Court is of the view that sufficient factual issues militate against

 summary judgment and in favor of a deeper factual inquiry - a view consistent with recent

 overtime wage cases against national retail chain stores, as exemplified in Big Lots and Morgan.



                                                   8
Case 2:06-cv-05474-RRM-ARL Document 73 Filed 11/03/10 Page 9 of 9 PageID #: 1223




                                       CONCLUSION

        For the reasons set forth above, Home Depot's motion for reconsideration is DENIED in

its entirety.

                                                   SO ORDERED.



Dated: Brooklyn, New York
       November 3, 2010
                                                     s/Roslynn R. Mauskopf
                                                   ROSLYNN R. MAUSKOPF
                                                   United States District Judge




                                               9
